Case 2:20-cv-09839-GW-KES Document 11 Filed 11/05/20 Page 1 of 1 Page ID #:664



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  8                        UNITED STATES DISTRICT COURT
  9                       CENTRAL DISTRICT OF CALIFORNIA
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 11    CALVIN LEONARD SHARP JR.,               Case No. 2:20-CV-09839 GW (KES)
 12                         Petitioner,
                                                               JUDGMENT
 13          v.
 14    STUART SHERMAN, Warden,
 15                         Respondent.
 16
 17
 18         Pursuant to the Court’s Order Summarily Dismissing Petition for Writ of
 19   Habeas Corpus for Lack of Subject Matter Jurisdiction,
 20         IT IS ADJUDGED that the Petition is dismissed without prejudice.
 21
 22   DATED: November 5, 2020
 23
 24                                        ____                     ________
                                           GEORGE H. WU
 25                                        UNITED STATES DISTRICT JUDGE
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